                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION


JOHN D. RUDD and DEBRA A.                         )
GONZALEZ                                          )
                                                  )      No. 3-08-0240
v.                                                )
                                                  )
CHUBB NATIONAL INSURANCE                          )
COMPANY                                           )


                                                ORDER


           On April 3, 2009, the parties filed an agreed order of dismissal (Docket Entry No. 44).

           As a result and based on prior notification from counsel for the parties, the settlement

conference, tentatively scheduled by order entered March 26, 2009 (Docket Entry No. 43), for

April 10, 2009, is CANCELLED.

           The Clerk is directed to forward the file in this case to the Honorable Robert L. Echols for

his consideration of the parties' agreed order of dismissal.1

           Unless otherwise directed by the Court or upon motion of the parties, there will be no further

proceedings before the Magistrate Judge in this case.

           It is so ORDERED.



                                                  JULIET GRIFFIN
                                                  United States Magistrate Judge




     1
     By order entered May 2, 2008 (Docket Entry No. 12), the pretrial conference and trial were
scheduled on May 18, 2009, and June 16, 2009, respectively.



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